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                      UNITED STATES DISTRICT COURT
                           DISTRICT OF MAINE

UNITED STATES OF AMERICA               )
                                       )
      v.                               )      1:15-cr-00139-JAW-01
                                       )
DARRIN CATES                           )

           ORDER ON MOTION FOR COMPASSIONATE RELEASE
      A federal inmate serving a ten-year sentence for possession of child

pornography moves for compassionate release to home confinement followed by a

period of supervised release under 18 U.S.C. § 3582(c)(1)(A)(i). The nature and

seriousness of the inmate’s offense, the risk he poses to the community from the

circumstances of his crime and prior incidences of sexual conduct with an eight-year-

old girl, and the lack of medical conditions, other than smoking, which present an

increased risk of complications from COVID-19, all weigh against his release. The

Court denies his motion.


I.    PROCEDURAL BACKGROUND
      On April 25, 2017 the Court sentenced Darrin Cates to one-hundred and

twenty months of imprisonment, followed by ten years of supervised release after he

pleaded guilty to a one-count indictment for possession of child pornography in

violation of 18 U.S.C. § 2252A(a)(5)(B) and § 2252A(b)(2). Min. Entry (ECF No. 85);

J. (ECF No. 87). The Court ordered Mr. Cates to pay $20,000.00 in total restitution

to his four victims along with a $100.00 special assessment. J. at 6. Mr. Cates filed

his notice of appeal that same day. Def.’s Notice of Appeal (ECF No. 89). On July 25,

2018 the First Circuit affirmed this Court’s sentence. J. (ECF No. 111); United States
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v. Cates, 897 F.3d 349 (1st Cir. 2018). The Court received the First Circuit’s mandate

on August 16, 2018. Mandate (ECF No. 112).


      On June 26, 2020, Darrin Cates moved pro se for compassionate release

pursuant to the First Step Act and requested that the Court appoint counsel. Def.’s

Mot. for Compassionate Release and to Appoint Counsel (ECF No. 119) (Def.’s Pro Se

Mot.). On July 8, 2020 the Court appointed counsel and set a seven-day deadline for

an Amended Petition for Compassionate Release.         Appointment of Counsel and

Scheduling Order (ECF No. 122). After several unopposed motions to extend time,

Mr. Cates filed his amended petition on August 26, 2020. Def.’s Suppl. Mot. to Reduce

Sentence for Compassionate Release (ECF No. 130) (Def.’s Mot.). The Government

responded on September 1, 2020. Gov’t’s Resp. to Def.’s Mot. to Reduce Sentence for

Compassionate Release (ECF No. 131) (Gov’t’s Opp’n). Mr. Cates did not file a reply.


II.   POSITIONS OF THE PARTIES
      A.     Darrin Cates’ Motion
      Mr. Cates contends that compassionate release is proper under 18 U.S.C.

§ 3582(c)(1)(A) because his health conditions, combined with the conditions within

FCI Danbury present “extraordinary and compelling reasons” justifying his release.

Def.’s Mot. at 1. Mr. Cates states that he has various health issues. In addition to

having “respiratory complications and issues” he states that he has “disc degenerative

disease and mental health issues of Autism, Asperger’s and depression.” Id. He

states that because of these conditions “[h]e is at imminent risk of contracting




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COVID-19 which feeds on the unsafe, congregate conditions at [FCI Danbury].” Id.

at 2.


        According to Mr. Cates, FCI Danbury “has been subject to several outbreaks of

COVID-19 and has at least one prisoner death.” Id. He notes that the facility houses

approximately 728 men across thirteen different housing units. Id. Mr. Cates claims

that he is housed in a dormitory style unit where he “sleeps within 3-4 feet of five

other men.” Id. He indicates that the bathroom he uses has “5 stalls and a urinal

and 5-6 sinks . . . and a shower area two feet across the hall with 3-4 showers.” Id.

He also asserts that “[t]he outbreak at FCI Danbury is an extraordinary

circumstance” and that an April, 2020 memorandum from Attorney General William

Barr to the Bureau of Prisons (BOP) “acknowledged the ‘significant levels of infection’

at FCI Danbury along with two other facilities.” Id. at 3. Mr. Cates further alleges

that FCI Danbury “has been unable to follow CDC guidelines to prevent health risks

to the inmates” and contends that “[t]here are institutional deficiencies in social

distancing, screening and testing, isolation and quarantine, sanitation and hygiene,

personal protective equipment and medical treatment for other conditions.” Id. He

also cites and attaches Martinez-Brooks v. Easter, No. 3:20-cv-00569 (MPS), 2020 U.S.

Dist. LEXIS 83300, 2020 WL 2405350 (D. Conn. May 12, 2020) and Martinez-Brooks

v. Easter, No. 3:20-cv-00569 (MPS), 2020 U.S. Dist. LEXIS 94038, 2020 WL 2813072

(D. Conn. May 29, 2020), which describe conditions in FCI Danbury. Id. at 4-5

(collectively cited as Martinez-Brooks).




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       Mr. Cates concludes by arguing that release is proper. Id. at 4. He contends

that he has met § 3582(c)’s exhaustion requirements, that extraordinary and

compelling reasons warrant a reduction of sentence, that he poses no danger to the

community, and that the reduction in sentence is consistent with the relevant policy

statement. Id. He also notes that he “has established a safe release plan for home

confinement at his home in Winslow, Maine.” Id. at 5.


       Mr. Cates attached six filings to his motion for compassionate release. First,

he attaches his initial request for release to home confinement he filed in May 2020

with the warden at FCI Danbury. Def.’s Mot. Attach. 1, Req. for Release to Home

Confinement Pursuant to 18 U.S.C. § 3624(c)(2) or Compassionate Release Pursuant

to 18 U.S.C. § 3582(c)(1)(A)(i) for Inmate Darrin Cates (BOP Pet.). This attachment

contains a handwritten list of his medical conditions, medications, and a release plan.

Id. at 5-7.


       Second, Mr. Cates attaches the BOP’s denial of his request for release dated

June 3, 2020. Id. Attach. 2, Resp. to Inmate Req. to Staff Member (BOP Resp.). In

that response, the BOP explained to Mr. Cates that under BOP Program Statement

No. 5050.50 he was ineligible for release. Id. at 1. The BOP informed Mr. Cates that

he had “not been diagnosed with a respiratory condition such as COPD, pulmonary

fibrosis, or cystic fibrosis which are conditions identified as groups at higher risk for

severe illness from COVID-19.” Id. The BOP told Mr. Cates that it reviewed his

request for home confinement under the CARES Act; however, it informed him that

he was “ineligible due to [his] conviction of a sex crime.” Id. The BOP also observed

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that while in prison, he has been sanctioned for two incidences of drug use and for

mail abuse but that he has “a low risk of recidivism.” Id.


      Third, Mr. Cates attached his initial pro se motion to the Court for

compassionate release. Id., Attach. 3, Letter to Judge Woodcock (Def.’s Pro Se Mot.).

Fourth, he attached a document detailing his crimes and expected release date of

September 4, 2024. Id., Attach. 4, Sentence Monitoring Computation Data. Fifth and

sixth, he attached the Martinez-Brooks v. Easter decisions. See id., Attachs. 5, 6.


      B.     The Government’s Opposition
      The Government opposes releasing Mr. Cates for two reasons.           First, the

Government contends that “he has not met his burden to show extraordinary

circumstances exist in his case to warrant the reduction in sentence.” Gov’t’s Opp’n

at 1. Second, the Government notes that “even if his case were exceptional, he fails

to meet his burden in showing that a reduction of sentence would be appropriate in

light of the continuing danger he poses to the community.” Id.


      To begin, the Government highlights the threat which COVID-19 poses. Id.

at 2. The Government flags that the “BOP has had a Pandemic Influenza Plan in

place since 2012” and that the plan allowed the BOP to begin “planning for potential

coronavirus transmissions in January.” Id. Next, the Government describes the

BOP’s COVID-19 protocols for testing, use of masks, social distancing, treatment,

quarantining, and visitation. Id. at 3-6. The Government asserts that “[t]aken

together, all of these measures are designed to mitigate sharply the risks of COVID-

19 transmission in a BOP institution.”        Id. at 6.   Despite these protocols, the

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Government informs the Court that as of the date it filed its opposition, eighty-five

inmates and sixty-three staff at FCI Danbury have been diagnosed with and

recovered from COVID-19; however, one inmate died. Id.


      Turning to the merits of Mr. Cates’ petition, the Government contends that

Cates “has not established ‘extraordinary and compelling reasons’ for [compassionate

release] within the meaning of § 3582(c)(1)(A) and the Sentencing Commission’s

policy statement.” Id. at 10. According to the Government “[t]he mere existence of

the COVID-19 pandemic” is not an extraordinary and compelling circumstance and

“therefore cannot alone provide a basis for a sentence reduction.” Id. at 11-12 (citing

United States v. Raia, 954 F.3d 594, 597 (3d Cir. 2020)). As such, the Government

considers whether Mr. Cates’ medical conditions “place [Mr.] Cates within groups

that are acknowledged by the Centers for Disease Control and Prevention (CDC) to

be at higher risk.” Id. at 12.


      The Government notes that Mr. Cates’ pro se petition for release claims that

he has “‘smoker’s cough from COPD,’ ‘wet lung,’ ‘inhaler for asthma,’ and ‘respiratory

complications and issues.’” Id. However, the Government argues that “[u]pon closer

examination . . . it is apparent that the conditions do not constitute extraordinary and

compelling reasons for his release.” Id. Rather, the Government argues that the CDC

has deemed only “serious heart conditions such as heart failure, and serious lung

conditions such as COPD” as putting individuals at high risk. Id. at 13. Citing FCI

Danbury’s decision to deny compassionate release, the Government writes that “[Mr.]

Cates alleges he has COPD, but according to his own document (Def.’s Ex. B), he has

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not been diagnosed with COPD or any other condition that would put him at a higher

risk for severe illness from COVID-19.” Id. The Government attaches Mr. Cates’

BOP medical records to its opposition, which confirm he does not have COPD. Gov’t’s

Opp’n, Attach. 1, Bureau of Prisons Health Servs. Clinical Encounter at 64 (ECF No.

131-1) (Med. Records). As to Mr. Cates’ claims that he has degenerative disc disease,

depression, Asperger’s and Autism, the Government points out that the CDC has

released no guidance indicating that these conditions increase Mr. Cates’ risk of

serious complications from COVID-19. Id. at 13-14.


      Next, the Government argues that Mr. Cates “poses a continuing danger to the

community in light of his history of child pornography activity and past sexual abuse

of a minor child.” Id. at 10. It asserts that Mr. Cates’ failure to show he is not a

danger to the community and the sentencing factors under 18 U.S.C. § 3553(a)

“strongly disfavor a sentence reduction.” Id. at 14. Specifically, the Government

observes that Mr. Cates “has served only approximately forty-seven percent of his full

term of imprisonment.”     Id.   The Government argues that Mr. Cates’ “criminal

history, his disciplinary record while incarcerated at BOP, prior conduct involving

child pornography, and sexual abuse of a minor child” suggest he still poses a danger

to the community. Id. at 15.


      Regarding his criminal history, the Government points out that Mr. Cates has

seven convictions for burglary between 1988 and 1989, among other offenses, and had

his probation revoked numerous times. Id. The Government also notes that Mr.




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Cates’ last conviction, prior to his federal child porn conviction, was a 2008 conviction

for disorderly conduct. Id.


       Regarding Mr. Cates’ behavior in prison, the Government observes that Mr.

Cates has had several disciplinary incidents since entering BOP custody.              Id.

According to the Government, Mr. Cates has been involved with five incidents in the

past year, including “phone abuse, possessing drugs/alcohol on two occasions,

possessing unauthorized item, and mail abuse/disrupt monitoring.” Id.


       Finally, the Government considers how Mr. Cates’ criminal conduct should

factor in to the Court’s decision-making. The Government quotes from the Court’s

statements at sentencing that “child pornography is, by its very definition a crime

that victimizes a class of human beings – children – who are unable to protect

themselves, and because it is a crime against children, it is also a crime that has

devastating consequences on society’s most vulnerable.” Id. at 16. The Government

argues “there is little indication that [Mr.] Cates is able to control his urges to search

for and possess images of child sexual abuse” and “[h]e has put forward no evidence

that he no longer presents a danger to the community.” Id. at 17.


III.   LEGAL STANDARD
       In relevant part, 18 U.S.C. § 3582(c)(1)(A)(i) states:

       The Court may not modify a term of imprisonment once it has been
       imposed except that . . . in any case . . . the court, upon motion of the
       Director of the Bureau of Prisons, or upon motion of the defendant after
       the defendant has fully exhausted all administrative rights to appeal a
       failure of the Bureau of Prisons to bring a motion on the defendant’s
       behalf or the lapse of 30 days from the receipt of such a request by the
       warden of the defendant’s facility, whichever is earlier, may reduce the

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      term of imprisonment . . . after considering the factors set forth in [18
      U.S.C. §] 3553(a) to the extent that they are applicable, if it finds that
      . . . (i) extraordinary and compelling reasons warrant such a reduction
      . . . and that such a reduction is consistent with applicable policy
      statements issued by the Sentencing Commission . . ..

      Before a court considers a defendant’s motion for compassionate release, it

must determine that the defendant has met the procedural prerequisites for bringing

such a motion. See United States v. Lugo, No. 2:29-cr-00056-JAW, 2020 U.S. Dist.

LEXIS 63673, 2020 WL 1821010, at *3 (D. Me. Apr. 10, 2020) (finding the exhaustion

or thirty-day requirement of section 3582(c) mandatory). When, as here, a defendant

shows exhaustion, a court must consider the merits and determine whether

“extraordinary and compelling reasons warrant” the movant’s release, considering in

its determination “the factors set forth in section 3553(a)” and “applicable policy

statements issued by the Sentencing Commission . . ..” Id.

      The United States Sentencing Commission issued a policy statement under

United States Sentencing Guideline § 1B1.13 for addressing compassionate release

motions under § 3582(c)(1)(A). The Guidelines note that the movant must meet the

“requirements of subdivision (2) . . ..” U.S. SENTENCING GUIDELINES MANUAL § 1B1.13

cmt. n.1 (U.S. SENTENCING COMM’N 2018). Subdivision (2) provides that a court must

determine that “the defendant is not a danger to the safety of any other person or to

the community, as provided in 18 U.S.C. § 3142(g). . ..”

      Section 3142(g) sets forth the factors a court should consider before releasing

a person pending trial and these standards are incorporated into the assessment of a

request for compassionate release. They include (1) the nature and circumstances of



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 the offense, specifically whether the crime is a crime of violence or involves a

 controlled substance; (2) the weight of the evidence against the person; (3) the history

 and characteristics of the person; and (4) the nature and seriousness of the danger to

 any    person     or   the    community       that    would     be    posed    by    the    person’s

 release. 18 U.S.C. § 3142(g). Regarding the history and characteristics of the person,

 the statute provides that the court must consider:

        (A)      the person’s character, physical and mental condition, family ties,
                 employment, financial resources, length of residence in the
                 community, community ties, past conduct, history relating to
                 drug or alcohol abuse, criminal history, and record concerning
                 appearance at court proceedings; and

        (B)      whether, at the time of the current offense or arrest, the person
                 was on probation, on parole, or on other release pending trial,
                 sentencing, appeal, or completion of sentence for an offense under
                 Federal, State, or local law . . ..

 18 U.S.C. § 3142(g)(3)(A-B). After a court has determined whether the defendant is

 dangerous, § 1B1.13 provides that the court should determine whether

 “extraordinary and compelling reasons” exist to release the defendant.                          U.S.

 SENTENCING GUIDELINES MANUAL § 1B1.13 cmt. n.1 (U.S. SENTENCING COMM’N 2018).

 IV.    FACTUAL BACKGROUND
        A.       The Presentence Investigation Report
        When it sentenced Mr. Cates, the Court relied upon a Revised Presentence

 Investigation Report (PSR) prepared by the United States Probation Office (PO). At

 sentencing, Mr. Cates admitted that the PSR was largely accurate. 1 To the extent


 1       At the sentencing hearing, Mr. Cates contested paragraphs seven, ten and thirteen A of the
 PSR. Tr. of Proceedings at 4:20-7:19 (ECF No. 104) (Sentencing Tr.). Based in part on his dispute
 about these paragraphs, he objected to the Court’s guideline calculation. Id. Paragraph seven detailed
 allegations that Mr. Cates had sexually abused an eight-year-old girl about seventeen years earlier.

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 that Mr. Cates objected to the Court’s fact-finding at the sentencing hearing, the First

 Circuit affirmed the District Court’s rulings on these objections. United States v.

 Cates, 897 F.3d 349, 354-60 (1st Cir. 2018).


                1.      Darrin Cates’ History and Characteristics
        Darrin Cates was born in 1969 in Augusta, Maine.                       Revised Presentence

 Investigation Report ¶ 53 (ECF No. 121-1) (PSR). His biological parents put him up

 for adoption immediately after he was born, and he never knew them. Id. Mr. Cates

 was placed into foster care. Id. When he was two, he was placed with Dianne and

 Gerald Cates who adopted him when he was six years old. Id. At fifteen, Mr. Cates

 became emancipated and moved in with a friend in Waterville, Maine. Id. He

 graduated from Winslow High School in 1988 near the bottom of his class. Id. ¶ 62.

 Mr. Cates enrolled in college at the University of Maine at Augusta in 1989 but

 withdrew after less than a semester. Id. ¶ 63. In 1991, he enrolled in four courses at

 University of Maine at Presque Isle but received a failing grade in all four. Id.

 Between 1995 and his 2015 conviction for child pornography, Mr. Cates was self-

 employed as a web developer. Id. ¶ 64.


        On July 3, 1999, Mr. Cates married Jessica Reynolds. Id. ¶ 54. The couple

 had two daughters and lived in Winslow, Maine.                      Id.    Apart from a year of



 PSR ¶ 7. Paragraph ten set forth the PO’s application of the pattern of conduct enhancement under
 United States Sentencing Guideline § 2G2.2(b)(5) based on the conduct in paragraph seven. Id. ¶ 10.
 Paragraph 13A described Mr. Cates’ attempt to influence his father to alter Mr. Cates’ personal history
 in an effort to obtain a more lenient sentence. Id. ¶ 13A. The Court ruled against Mr. Cates’ objections
 to paragraphs seven and ten based on its conclusion that he had engaged in a pattern of conduct under
 § 2G2.2(b)(5) but agreed with Mr. Cates that his interaction with his father did not justify denying a
 three-point guideline reduction for his acceptance of responsibility, a determination that favored Mr.
 Cates. Sentencing Tr., at 4:20-7:19.

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 incarceration at the Maine State Prison in Windham, Maine, Mr. Cates’ life was free

 of major crises until his present offense. Id. ¶ 55. He told the PO that his life was

 “excellent” until January 8, 2015 when his mental health began to decline. Id. ¶ 56.

 He said that after that date, he lost thirty-five pounds and began to cry every day.

 Id. He attributes the crying and mental distress to his time in foster homes and

 related separation anxiety. Id.


       At the time of sentencing, Mr. Cates represented that he was in good physical

 health. Id. ¶ 58. He indicated that his only health problem was a compressed disc

 and pinched nerve in his back. Id. The PSR states that Mr. Cates first sought mental

 health treatment after his criminal conduct was discovered. Id. ¶ 59. It also indicates

 that he was diagnosed at that time with depression, anxiety, and insomnia. Id. Mr.

 Cates denied any history of alcohol or substance abuse. Id. ¶ 61. However, the BOP

 recently found him in possession of Suboxone.       Gov’t’s Opp’n, Attach. 2, Inmate

 Discipline Data at 1-2 (ECF No. 131-2) (Disciplinary Record).


              2.     Criminal History
       Mr. Cates has been convicted of numerous crimes, though the bulk are several

 decades old. Between June 19, 1988 and November 5, 1989, when Mr. Cates was

 nineteen and twenty years old, he was convicted of a series of property offenses,

 including several burglaries which resulted in a one-year prison term. PSR ¶¶ 31-

 39. He also has several convictions for motor vehicle offenses, namely, operating after

 suspension. Id. ¶¶ 32-41, 44. In 1998 he was convicted of assault and paid a $150

 fine. Id. ¶ 42. He has a conviction stemming from a 2003 episode of disorderly


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 conduct at the Waterville House of Pizza in Waterville, Maine. Id. ¶ 43. He has

 another disorderly conduct conviction arising from his 2008 use of offensive words

 and gestures at a McDonald’s drive-thru window. Id. ¶ 45. He was fined $250 for

 this crime. Id. Mr. Cates aged out of these convictions for purposes of Guideline

 calculation and he was assessed a criminal history score of zero. Id. ¶ 46. He has a

 criminal history category of I. Id.


              3.     Nature and Circumstances of the Offense
       Mr. Cates’ conviction resulted from an investigation by the Maine State Police

 Computer Crimes Unit (MCCU). PSR ¶ 5. An investigative assistant with MCCU

 determined that an IP address had shared files of interest in a child pornography

 investigation through a Peer to Peer network. Id. Investigators determined that the

 IP address belonged to Mr. Cates. Id. Investigators accessed the IP address on

 December 31, 2014 and determined that the IP address had shared thirty-six unique

 torrents of child pornographic material of interest between September 15, 2014 and

 October 30, 2014. Id.


       For example, one video file shared via the torrent depicted extremely graphic

 and sadistic sexual activity on a young girl, including violation by an animal. Id.

 Based on this video and others discovered during the investigation, the MCCU

 obtained a search warrant for Mr. Cates’ residence in Winslow. Id. MCCU agents

 executed a search warrant of Mr. Cates’ residence on January 9, 2015. Id. ¶ 6. Agents

 seized a homemade desktop computer, two WD drives, and three thumb drives. Id.

 While agents were executing the warrant, Mr. Cates voluntarily agreed to an


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 interview. Id. He told investigators that he had been downloading child pornography

 for about three years and had several billion images and videos saved. Id. However,

 officers did not locate billions of images. Id. Mr. Cates denied ever engaging in

 unlawful sexual contact but stated that one of his daughter’s friends had complained

 of a “three-way hug” to the Maine Department of Health and Human Services when

 the friend became uncomfortable. Id.


       Mr. Cates’ 2015 arrest caused a prior victim to come forward. On January 11,

 2015, a confidential source of information (SI) called the MCCU to report that Mr.

 Cates sexually abused her. Id. ¶ 7. The SI, then aged twenty-five, claimed that the

 abuse took place when she was around eight years old in 1997. Id. She informed the

 MCCU that Mr. Cates was her mother’s boyfriend at the time and had on two

 separate occasions, forced her to watch him masturbate. Id. During one instance,

 she stated that Mr. Cates made her perform oral sex on him. Id. She further alleged

 that Mr. Cates told her not to tell her mother about the abuse and threatened to do

 something to her mother if she did. Id. The SI said she reported the incident to her

 mother and step-brother a few years later after she saw Mr. Cates with his wife and

 their child, and it upset her. Id. In May 2001, the SI’s mother informed police of the

 allegations of abuse and on May 24, 2001 law enforcement interviewed the SI. Id.

 Law enforcement interviewed Mr. Cates on May 25, 2001 and he denied the

 allegations. Id. Mr. Cates was not charged for this conduct. Id.


       On January 15, 2015, Mr. Cates agreed to a voluntary interview with MCCU.

 Id.   During the interview he admitted having a substantial amount of child

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 pornography on his hard drive. Id. He stated that the children in these images

 ranged from babies to teenagers, but that he preferred young girls aged between eight

 and twelve. Id. He again denied contact offenses. Id. However, when asked if the

 SI had watched him masturbate while he was watching pornography, he stated “that

 sounds like something that may have happened.” Id. At first, he denied the SI had

 ever touched his penis, but he later contradicted himself. Id. He stated that on one

 occasion, the SI had come into the room where he was, stuck her hand on his leg

 under his shorts, and grabbed his penis. Id. According to Mr. Cates, he immediately

 got up and left the room. Id. He denied forcing the SI to perform oral sex. Id.


       MCCU investigators conducted a forensic analysis of the electronic devices

 taken from Mr. Cates’ home. Id. ¶ 8. They recovered 550 images and 296 videos of

 child porn from an external hard drive. Id. An additional 276 images and two movies

 were recovered from a USB drive. Id. After consulting with the National Center for

 Missing and Exploited Children, MCCU investigators determined that 398 images

 and 103 videos were of known child victims. Id.


       The PO reviewed the images and videos in this case on January 5, 2016 at the

 U.S. Attorney’s Office in Bangor, Maine. Id. ¶ 9. Some depict horrifically violent

 instances of child sex abuse. Id.


       B.     Darrin Cates’ BOP Medical Records
       The Government submitted sixty-seven pages of Mr. Cates’ medical records to

 the Court. Med. Records. A record dated March 27, 2020 says that Mr. Cates has

 Autism Spectrum Disorder and a Personality Disorder with Dependent Tendencies.

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 Id. at 52-53. He was also diagnosed at that time with Opioid Use Disorder after he

 tested positive for Suboxone. Id. at 53. He has degenerative disc disease. Id. at 4.


       On June 10, 2020, Mr. Cates had an appointment with BOP health services

 and raised concerns about a pulmonary condition. Id. at 4-5. His providers observed

 that he was wheezing but had no crackling in his lungs or sounds indicating

 diminished breath. Id. at 5. He had a regular heart rate and rhythm. Id. His

 provider prescribed an Albuterol inhaler for his wheezing and Amitriptyline tablets

 for depression and low back pain. Id. at 6. On June 18, 2020 he had a scan to assess

 whether he had COPD and the scan found no radiographic evidence of COPD. Id.


       C.     Darrin Cates’ BOP Disciplinary Records
       The Government attached two pages of Mr. Cates’ disciplinary records from

 the BOP.    Gov’t’s Opp’n, Attach. 2, Inmate Discipline Data (ECF No. 131-2)

 (Disciplinary Record). The record describes five violations by Mr. Cates. Id. at 1-2.

 On August 1, 2019 he was found to have abused his phone privileges by committing

 a prohibited act. Id. at 2. On September 13, 2019 he was sanctioned for concealing

 Suboxone in his rectum. Id. at 1-2. On October 10, 2019 he was sanctioned for having

 an unauthorized item in his mattress. Id. at 1. On October 11, 2019, he was found

 to have committed mail abuse. Id. On January 5, 2020, he admitted to testing

 positive for Buprenorphine. Id.


       D.     Guideline Calculations and Sentence
       The Court calculated a total offense level of thirty-five and a Criminal History

 Category of I, which yielded a guideline range of 168 to 210 months imprisonment, a


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 period of supervised release ranging from five years to life, and a fine ranging from

 $20,000.00 to $200,000.00. Statement of Reasons at 1 (ECF No. 88). Id., Attach. 1,

 Findings Affecting Sentencing (ECF No. 88-1) (Findings). Mr. Cates’ guideline range

 included several enhancements which nearly doubled his base offense level from

 eighteen to thirty-five. Id. He received a two-level enhancement because his offense

 involved a prepubescent minor who had not yet attained the age of twelve, a two-level

 enhancement for distributing the child pornography through a Peer to Peer network,

 a four-level enhancement because the material portrayed sadistic or masochistic

 content, a five-level enhancement for engaging in a pattern of activity involving

 sexual abuse or exploitation of a minor, a two-level enhancement for using a

 computer, and a five-level enhancement because the offense involved more than 600

 images. Id. ¶¶ 3-8. He received a two-level reduction for acceptance of responsibility

 and an additional one-level reduction. Id. ¶¶ 9-10.


       Due to the punitive nature of the child pornography guidelines, the Court

 imposed a downward variant sentence of 120 months. Statement of Reasons at 3. The

 Court also imposed a ten-year term of supervised release. J. at 3. As Mr. Cates was

 subject to mandatory restitution under 18 U.S.C. § 2259, the Court ordered Mr. Cates

 to make restitution to four of his victims in the total amount of $20,000. Id. at 6. The

 Court ordered the $100 special assessment. Id.




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 V.    DISCUSSION
       A.     The Danger to the Community
       The Court concludes that Mr. Cates has failed to show that he is no longer a

 danger to the safety of any other person in the community. Under 18 U.S.C. § 3142(g)

 the Court must determine whether the defendant has a history of controlled

 substance offenses or crimes of violence. The Court must also consider “whether, at

 the time of the current offense or arrest, the person was on probation, on parole, or

 on other release pending trial, sentencing, appeal, or completion of sentence for an

 offense under Federal, State or local law . . ..” 18 U.S.C. § 3142(g)(3)(B).


       Putting aside Mr. Cates’ prior criminal history due to its age, there are two

 major issues that concern the Court about Mr. Cates’ risk of recidivism: first, the

 nature of the child pornography Mr. Cates possessed and second, his actual sexual

 contact with an eight-year-old girl. In the spectrum of child pornography, the images

 Mr. Cates chose to possess were extremely abusive; they depicted graphic and violent

 sexual abuse of children as young as babies.         PSR ¶¶ 5, 8-9.     The amount of

 pornography in Mr. Cates’ possession suggested “a significant degree of obsession.”

 Sentencing Tr. at 80:19.    Furthermore, Mr. Cates crossed a significant boundary

 when he engaged in sexual activity on two occasions with an eight-year-old girl. PSR

 ¶ 7. As the Court observed at Mr. Cates’ sentencing hearing, a sexual obsession with

 young children means that society’s most vulnerable, its children, are potential

 victims and the consequences of sexual abuse of a child on the victim are often

 devastating. Sentencing Tr. at 81:1-6. Finally, the Court is concerned about his

 multiple disciplinary violations while at the BOP, including possession of Suboxone;

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 these disciplinary violations raise doubts about Mr. Cates’ self-discipline and

 willingness to follow society’s rules. Disciplinary Records at 1-2. Furthermore, the

 BOP has diagnosed Mr. Cates with Opioid Use Disorder, which presents another risk

 factor. Med. Records at 45.


       The Court finds that Mr. Cates poses a continuing danger to the community

 and this finding alone is sufficient to deny his motion for compassionate release.


       B.     The 3553(a) Factors
       At Mr. Cates’ sentencing, the Court analyzed the § 3553(a) factors including

 the nature and circumstances of his offense, his history and characteristics, and the

 need to protect the public from future crimes perpetrated by Mr. Cates. Sentencing

 Tr. at 76:1-9. In the Court’s view, nothing has changed since it sentenced Mr. Cates.

 His crimes are as deplorable as they were at sentencing.        Moreover, the Court

 maintains that the downward variance he received at sentencing makes his 120-

 month sentence no more severe than necessary to accomplish the purposes of the law.


       C.     Darrin Cates and COVID-19
              1.    Darrin Cates’ Health Conditions
       There is no evidence that Mr. Cates has a health condition that places him at

 a heightened risk of serious medical complications should he contract COVID-19.

 According to the Centers for Disease Control and Prevention (CDC) the risk of getting

 severely ill from COVID-19 increases as a person gets older. Older Adults, CDC,

 https://www.cdc.gov/coronavirus/2019-ncov/need-extra-precautions/older-

 adults.html (last visited Oct. 19, 2020). Eighty percent of COVID-19 deaths in the


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 United States have been persons aged sixty-five or older. Id. The CDC has also

 identified several underlying medical conditions that put a person at increased risk

 of severe illness from COVID-19. People with Certain Medical Conditions, CDC,

 https://www.cdc.gov/coronavirus/2019-ncov/need-extra-precautions/people-with-

 medical-conditions.html (last visited Oct. 19, 2020). These conditions include: cancer,

 chronic kidney disease, COPD, weakened immune system from an organ transplant,

 obesity (defined as a body mass index (BMI) of thirty or higher), serious heart

 conditions such as heart failure, sickle cell disease, and Type 2 diabetes. Id. The

 CDC has also suggested that smokers are at increased risk for complications. Id.


       According to his medical records, other than smoking, Mr. Cates has none of

 the medical conditions that would put him at an increased risk of serious

 complications from COVID-19. Mr. Cates was born in June 1969. PSR at 2. He is

 fifty-one years old and therefore his age does not put him at a substantially

 heightened risk of complications from COVID-19. Second, there are no diagnoses in

 Mr. Cates’ medical records that weigh in favor of release. As mentioned, a recent

 scan revealed that he did not have COPD. Med. Records at 64. There is no evidence

 that he is obese. He has degenerative disk disease, Autism Spectrum Disorder, and

 Opioid Use Disorder. Id. at 52-53. His only CDC-recognized health risk is that he

 has been a heavy smoker for thirty years. Id. at 4. Although his smoking risk factor

 is a concern, it is the only risk factor he presents. On balance, the Court finds that

 Mr. Cates’ health does not present an extraordinary and compelling circumstance

 justifying his release because his conditions do not put him at an appreciably greater


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 risk that the average inmate of suffering a severe illness should he contract COVID-

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                2.   FCI Danbury and COVID-19
       The Court now considers how likely it is that Mr. Cates will contract COVID-19

 at FCI Danbury. According to Mr. Cates, FCI Danbury “has been subject to several

 outbreaks of COVID-19 and has at least one prisoner death” and “[d]espite court

 orders the facility has been unable to provide safe housing for prisoners.” Def.’s Mot.

 at 2. The Government does not address the particular dangers posed by COVID-19

 at FCI Danbury but highlights the efforts of the BOP nationwide to mitigate its

 harmful effects on inmates. Gov’t’s Opp’n at 2-7.


       Located in Danbury, Connecticut, FCI Danbury is a low-security federal

 correctional         institution.                   FCI        Danbury,          BOP,

 https://www.bop.gov/locations/institutions/dan/ (last visited Oct. 19, 2020). It has an

 adjacent low-security satellite prison and a minimum-security satellite camp. Id. It

 houses 874 inmates, with 686 at the FCI, 57 inmates in the camp, and 131 inmates

 at the low security satellite prison. Id. Eight hundred and seventy-six inmates at

 Danbury FCI have been tested for COVID-19 and eighty-six have tested positive.

 COVID-19 Coronavirus, BOP, https://www.bop.gov/coronavirus/ (last visited Oct. 19,

 2020). At present, there are only two confirmed active cases of COVID-19 at FCI

 Danbury. Id. However, one inmate has died. Id.


       Earlier this year, the district court in Connecticut issued decisions on a class

 action habeas corpus petition calling attention to the high risk of contracting COVID-

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 19 at FCI Danbury. See Martinez-Brooks, supra. Following Martinez-Brooks, several

 federal district courts have addressed the high risk of contracting COVID-19 at FCI

 Danbury. See United States v. Calhoun, No. 2:15-cr-00056-JDL-1, 2020 U.S. Dist.

 LEXIS 117527, at *7-8 (D. Me. July 1, 2020) (collecting cases). Indeed, as the Calhoun

 Court noted, “FCI Danbury was one of only three federal prisons specifically

 identified by Attorney General William Bar in an April 3, 2020 memo to the Director

 of the Bureau [of] Prisons ordering immediate action to place vulnerable inmates on

 home confinement.” Id. at *7 (internal citations omitted). While assuming that the

 impossibility of effective social distancing remained unchanged from those early days

 and therefore presented heightened risk of contracting COVID-19, the district judge

 noted that as of July 1, 2020 “[i]t appears that the situation at FCI Danbury may

 have improved in the past six weeks.” Id.


       Although the loss of life at FCI Danbury from COVID-19 is tragic, much has

 changed at FCI Danbury since this spring. Currently, only 0.3 percent of inmates at

 FCI Danbury are known to have COVID-19 (2 ÷ 686 = .0029). COVID-19 Coronavirus,

 BOP, https://www.bop.gov/coronavirus/ (last visited Oct. 19, 2020). FCI Danbury’s

 rate of inmates who have tested positive is higher, around ten percent (86 ÷ 876 =

 0.098). Id. However, of the eighty-six positive tests among inmates, two are still

 infected and one died. Id. Thus, the vast majority of those infected with COVID-19

 at FCI Danbury have recovered. The sixty-four prison staff members who contracted

 COVID-19 have also recovered. Id. There are no active cases among staff and there

 have been no deaths among staff. Id. Based on current statistics, the Court is


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 satisfied that although the COVID-19 outbreak at FCI Danbury, once severe and

 uncontained, is now under reasonable control. United States v. Khawaja, 2020 U.S.

 Dist. LEXIS 169073, at *14 (D.N.H. Sept. 16, 2020) (“[the] outbreak appears to be

 largely contained at the present”).


        Although FCI Danbury cannot eliminate the risk of contracting COVID-19, a

 risk also in society in general, the Court concludes that Mr. Cates has not

 demonstrated that the risk of contracting COVID-19 at FCI Danbury presents an

 extraordinary and compelling circumstance weighing in favor of Mr. Cates’ release.

 In United States v. Gates, No. 2:08-cr-42-DBH-01, 2020 U.S. Dist. LEXIS 174704, at

 *2-3 (D. Me. Sept. 23, 2020), a judge of this district observed that at least two circuits

 have explained that the "generalized fear of contracting COVID-19" does not on its

 own   "demonstrate     an   extraordinary    and    compelling   reason    for   granting

 compassionate release." United States v. Urrabzo-Maldonado, No. 20-3727, U.S. App.

 LEXIS 29873, at *4-5 (6th Cir. Sept. 17, 2020) (citing Raia, 954 F.3d at 597), which

 observed that "the mere existence of COVID-19 in society and the possibility that it

 may spread to a particular prison alone cannot independently justify compassionate

 release").


              3.     FCI Danbury versus Winslow, Maine
        If the Court were to release Mr. Cates, he would not enter a world free of

 COVID-19. Accordingly, the Court must consider whether Mr. Cates has shown that

 his intended residence puts him at lower risk of contracting COVID-19 than at FCI

 Danbury. His Amended Motion states that Mr. Cates “has established a safe release


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 plan for home confinement at his home in Winslow, Maine.” Def.’s Mot. at 5. His

 petition to the BOP indicates that he plans to live with his wife at their home in

 Winslow and that he will initially be supported by his family in Winslow as he

 rebuilds his web design company. BOP Pet. at 7.


          Mr. Cates submitted virtually no information from which the Court could

 meaningfully assess the relative risks of contracting COVID-19 at his family’s home

 in Winslow versus FCI Danbury. Even assuming Mr. Cates would be better able to

 maintain social distance and limit his COVID-19 exposure from home than in federal

 prison, the Court cannot assess the extent to which risk reduction would occur.

 Therefore, the Court finds that Mr. Cates’ risk of COVID-19 would likely be lower in

 Winslow than at FCI Danbury, but it lacks sufficient evidence to quantify the relative

 risks.


          D.    The Balance Weighs in Favor of Denying the Motion
          In sum, the Court concludes that the factors discussed above weigh in favor of

 denying Mr. Cates’ motion. Based on his history and the nature of his offense, the

 Court is persuaded that he presents an ongoing danger to the community. His offense

 was repugnant, and he derived sexual pleasure from the violent victimization of some

 of the most vulnerable members of our society. He has offered no evidence that would

 suggest he has been rehabilitated.      Second, the § 3553(a) factors weigh against

 release. The Court’s analysis of these factors is identical to its determination at Mr.

 Cates’ sentencing. Third, COVID-19, as-applied to Mr. Cates does not present an

 extraordinary      and    compelling     circumstance    justifying   release    under


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 § 3582(c)(1)(A)(i). He has presented no evidence that his age or underlying health

 conditions, other than smoking, put him at increased risk of severe complications

 should he contract COVID-19. He has also not persuaded the Court that he is at a

 heighted risk of contracting COVID-19 at FCI Danbury. He has not offered sufficient

 evidence for the Court to conclude that his risk of contracting the virus would be

 appreciably lower if he were released to home confinement in Winslow, Maine.


 VI.   CONCLUSION
       The Court DENIES Darrin Cates’ Supplement to Motion to Reduce Sentence

 for Compassionate Release (ECF No. 130).


       SO ORDERED.

                                              /s/ John A. Woodcock, Jr.
                                              JOHN A. WOODCOCK, JR.
                                              UNITED STATES DISTRICT JUDGE


 Dated this 19th day of October, 2020




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